United States District Court
Northern District of California

Case 3:23-cv-01710-AMO Document 281 Filed 07/31/23 Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

FEDERAL TRADE COMMIS Case No. 3:23-CV-01710-AMO

>

Plaintiff(s),

APPLICATION FOR ADMISSION OF
v. ATTORNEY PRO HAC VICE
(CIVIL LOCAL RULE 11-3)

INTERCONTINENTAL EXC. ,
Defendant(s).
I, John C. Lynch , an active member in good standing of the bar of
Virginia , hereby respectfully apply for admission to practice pro hac

vice in the Northern District of California representing: Non-Party loanDepot.com, LLC _ in the

above-entitled action. My local co-counsel in this case is Susan N. Nikdel ,an

attorney who is a member of the bar of this Court in good standing and who maintains an office

within the State of California. Local co-counsel’s bar number is: 317921

222 Central Park Ave., Ste. 2000, Va Beach, 5 Park Plaza, Ste. 1400,Irvine, CA 92614
MY ADDRESS OF RECORD LOCAL CO-COUNSEL’S ADDRESS OF RECORD
757-687-7500 949-622-2700

MY TELEPHONE # OF RECORD LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD

john.lynch@troutman.com susan.nikdel@troutman.com

MY EMAIL ADDRESS OF RECORD LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

I am an active member in good standing of a United States Court or of the highest court of

another State or the District of Columbia, as indicated above; my bar number is: 39267

A true and correct copy of a certificate of good standing or equivalent official document

from said bar is attached to this application.

I have been granted pro hac vice admission by the Court 0 times in the 12 months

preceding this application.

United States District Court
Northern District of California

Case 3:23-cv-01710-AMO Document 281 Filed 07/31/23 Page 2 of 2

I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially
the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

Rules. I declare under penalty of perjury that the foregoing is true and correct.

Dated: 07/31/2023 John C. Lynch
APPLICANT

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE

IT IS HEREBY ORDERED THAT the application of John C. Lynch is

granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
counsel designated in the application will constitute notice to the party.

Dated:

UNITED STATES DISTRICT/MAGISTRATE JUDGE

Updated 11/2021 2

